            Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 1 of 34




                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

KYRA MOORE, on behalf of herself             :
and others similarly situated,               :
                                             :
                      Plaintiffs             :       C.A. No. 13 – 1515
                                             :
               v.                            :       CLASS ACTION
                                             :
RITE AID HDQTRS CORP. d/b/a                  :
RITE AID CORPORATION,                        :
                                             :
                      Defendant.             :

                    FIRST AMENDED CLASS ACTION COMPLAINT

                                   I.      INTRODUCTION

       1.      This is a consumer class action under the Fair Credit Reporting Act, 15 U.S.C. §

1681 et seq. (FCRA), brought on behalf of applicants for employment with Defendant Rite Aid

Hdqtrs Corp. d/b/a Rite Aid Corporation (Rite Aid). Plaintiff contends that Rite Aid systematically

violates section 1681b(b)(3) of the FCRA by using – through its agent - a consumer report to make

an “adverse” employment decision without, beforehand, providing the person who is the subject of

the report a copy of the report and a summary of rights under the FCRA a sufficient amount of time

to dispute the report before the adverse action is taken. The adverse action decision is rendered

before the applicant even learns of any right to make a dispute to the consumer reporting agency.

As a consequence of that violation, job applicants are denied the right to view the reports sold about

them, and to dispute any inaccuracies in the reports before losing job opportunities based on such

reports.

       2.      Further, Rite Aid also violated section 1681b(b)(2)(A) of the FCRA by obtaining

and using consumer reports for its employment purposes without first (or at all) making “a clear

and conspicuous disclosure … in writing to the consumer at any time before the report is procured
            Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 2 of 34




or caused to be procured, in a document that consists solely of the disclosure, that a consumer

report may be obtained for employment purposes[.]”

       3.      The FCRA was enacted “to insure that consumer reporting agencies exercise their

grave responsibilities with fairness, impartiality, and a respect for the consumer’s right to privacy,”

15 U.S.C. § 1681(a)(4) (emphasis added), by operating “in a manner which is fair and equitable to

the consumer, with regard to the confidentiality, accuracy, relevancy” of the consumer information

they disseminate. 15 U.S.C. § 1681(b). Congress included in the statutory scheme a series of due-

process-like protections that impose strict procedural rules on “users of “consumer reports” such as

Rite Aid. This action involves Defendant’s systematic violation of several of those important rules.

       4.       Plaintiff Kyra Moore was denied employment at Rite Aid based on the results of

a standardized and routine background screen that, pursuant to a contract with Rite Aid, a third-

party data seller, LexisNexis,1 performs on all of Rite Aid’s prospective candidates for hire or

promotion, including those who have been conditionally hired. Using the consumer files in its

various databases, and based entirely on such information, this third-party agent scored Plaintiff

ineligible for employment with Rite Aid, and furnished Rite Aid with that score and a copy of

the damaging report on which the score was based.

       5.      The background screen information that LexisNexis communicated to Rite Aid

about the Plaintiff was acknowledged consumer report information that both parties recognized

was governed by the FCRA and subject to its requirements. Both parties viewed and treated the



1
        In early 2013, LexisNexis Screening Solutions, Inc. was acquired by the parent company
of First Advantage LNS Screening Solutions, Inc. Although the members of the class were all
adjudicated by LexisNexis or First Advantage on behalf of Defendant Rite Aid, First Advantage
LNS Screening Solutions, Inc., f/k/a LexisNexis Screening Solutions, Inc. is no longer named as
a defendant in this case. In order not to make any distinction between the period before and after
the 2013 acquisition, this data seller will be referred to herein as “LexisNexis.”


                                                 2
             Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 3 of 34




information as consumer report information under the FCRA for the permissible purpose of

screening prospective or conditionally hired job applicants for hire.

        6.      Consistent with Rite Aid’s customary practice, the ineligible classification

resulted in Plaintiff not being hired by Defendant. In violation of the FCRA, 15 U.S.C. §

1681b(b)(3), Rite Aid willfully failed to provide Plaintiff with the mandatory “pre-adverse action

notice,” including a copy of the consumer report it obtained about her, before the adverse

classification of Non-Competitive was made.

        7.      Every year, thousands of individuals who have applied to Rite Aid for

employment have been similarly aggrieved by the same willful violation of 15 U.S.C. §

1681b(b)(3). These individuals lost employment opportunities based on the use of consumer

reports the accuracy of which they never had the chance to contest before they were classified as

ineligible for hire.

        8.      Also in violation of the FCRA, upon information and belief, Defendant required

Plaintiff to sign a standardized disclosure and application form which, among other things, did

not consist “solely of the disclosure that a consumer report may be obtained for employment

purposes,” as required by 15 U.S.C. § 1681b(b)(2)(A)(i), but rather contained other distracting

and extraneous language.

        9.       Plaintiff seeks monetary relief under 15 U.S.C. § 1681n for herself and a class of

similarly situated employment applicants to whom Rite Aid failed to provide the “pre-adverse

action notice” required by 15 U.S.C. § 1681b(b)(3) and whom Rite Aid required to sign the

disclosure form that did not consist “solely of the disclosure that a consumer report may be

obtained for employment purposes,” as required by 15 U.S.C. § 1681b(b)(2)(A)(i).




                                                 3
          Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 4 of 34




                            II.      JURISDICTION AND VENUE

       10.     This Court has jurisdiction over this matter based upon 28 U.S.C. § 1331 and 15

U.S.C. §1681p in that all claims brought arise under the federal Fair Credit Reporting Act, 15

U.S.C. § 1681 et seq. Venue is properly in this District, pursuant to 28 U.S.C. § 1391(b), because

a substantial part of the events or omissions giving rise to Plaintiff’s claim occurred in this

District, and because Defendant “resides” in this District as defined in 28 U.S.C. § 1391(c).

                                        III.   PARTIES

       11.     Plaintiff Kyra Moore is an adult individual residing in Philadelphia, Pennsylvania.

       12.     Defendant Rite Aid Hdqtrs Corp. d/b/a Rite Aid Corporation (Rite Aid) is a

corporation licensed to do business in the Commonwealth of Pennsylvania and regularly

conducts business in the City of Philadelphia. Defendant Rite Aid is a national chain of drug

stores with numerous locations in this District, and a principal place of business at 30 Hunter

Lane, Camp Hill, Pennsylvania 17011.

                               IV.    STATEMENT OF FACTS

A.     Rite Aid’s Use of Consumer Reports

       13.     LexisNexis is a “consumer reporting agency” governed by the FCRA.

       14.     LexisNexis enters into form contracts (“Agreement of Service”) with its employer

customers, whereby, for a price, LexisNexis agrees to provide consumer reports for employment

purposes within the meaning of section 1681b(b) of the FCRA.

       15.     During the relevant period of time, Rite Aid was a customer of LexisNexis and a

party to an Agreement of Service.

       16.     When LexisNexis furnished or used a consumer report regarding a Rite Aid

applicant, that report would contain the search results from multiple databases. One of the

databases searched and used for the Rite Aid reports was LexisNexis’ national criminal records

                                                4
          Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 5 of 34




database. In addition, as part of its agreement with Rite Aid, one of the databases LexisNexis

used in its reports and to adjudicate Rite Aid job applicants—through approximately April

2013—was its proprietary database known alternatively as “Esteem” or the “Retail Theft

Contributory Database.”

       17.     The data maintained in the Esteem database consisted primarily of purported

admissions of theft procured by a former employer and contributed to the Esteem system. This

data is separate from criminal records information, which tends to be contained in separate

databases maintained by LexisNexis.

       18.     Esteem was a membership program previously offered to LexisNexis’ customers

in the retail industry. Under this program, LexisNexis would receive contributed employee

“admission statements” from one member, such as CVS or Target, link those statements to the

identifying information (name, address, social security number) for the employee in its massive

data system, and then, in the event that same individual were to be the subject of a future

background inquiry from a different employer member of Esteem, would report an Esteem

“match” to the inquiring employer.

       19.     While LexisNexis was the consumer reporting agency that furnished consumer

reports to Rite Aid, it also served in a separate capacity as a vendor hired by Rite Aid to perform

the adjudication of employment applicants’ eligibility for hire. As such, LexisNexis was acting

on behalf of Rite Aid, as its agent and/or representative. Rite Aid would only have LexisNexis

perform adjudications for those consumers who had already been hired conditionally.

       20.     The Defendant’s duties under the FCRA are non-delegable, meaning that

regardless of the Defendant’s reliance on LexisNexis, LexisNexis’ failures to perform, if any, in

accordance with Defendant’s FCRA duties are fully actionable as if they were performed directly

by Rite Aid itself.

                                                5
          Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 6 of 34




       21.     Rite Aid is a customer of LexisNexis’ scoring service, meaning that, pursuant to

an Agreement of Service, LexisNexis scores Rite Aid job applicants as falling within one of

three categories - eligible, ineligible or decisional - based on the application of an “adjudication

matrix” selected by Rite Aid. In addition, LexisNexis permits customers to choose their own

terminology or nomenclature for those three categories (e.g., “Non-Competitive” for “Ineligible

for Hire”).

       22.     For example, on information and belief, during the relevant time period,

LexisNexis’ criminal record screen is performed in accordance with the Rite Aid “adjudication

matrix,” which designates the criteria for scoring different possible “hits” within the LexisNexis

National Criminal Record File

       23.     Rite Aid has used this background screening service by LexisNexis as a way to

manage its vast pool of job applicants, filtering out those applicants scored by LexisNexis as

“Non-Competitive,” this being Rite Aid’s chosen nomenclature for “Ineligible for Hire.” Those

applicants passing the entire screen were treated by Rite Aid as “Eligible for Hire” and moved to

Hire; those failing to pass any screening element were automatically scored and given the status

“Ineligible for Hire” (i.e., “Non-Competitive”), removed from consideration for employment and

not moved to Hire in the Rite Aid screening process.

       24.     According to the agreement between Rite Aid and LexisNexis, an Esteem “hit”

would cause the applicant to be classified “Non-Competitive” or “Ineligible for Hire.”

       25.     During the relevant time period, if a consumer applicant cleared an Esteem

search, she could still be scored Non-Competitive if she failed to clear another element of the

screening package, such as a criminal records check.

       26.     Under the FCRA, a “user” of a consumer report who intends to take an “adverse

action” on a job application “based in whole or in part” on information obtained from the

                                                 6
          Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 7 of 34




consumer report must provide notice of that fact to the consumer-applicant, and must include

with the notice a copy of the consumer report and a notice of the consumer’s dispute rights under

the FCRA, before taking the adverse action. 15 U.S.C. § 1681b(b)(3)(A). After an adverse

action occurs, the consumer employment applicant must receive a second notice, mandated by 15

U.S.C. §1681m.

       27.     The reasons for the “pre-adverse action” requirement with regard to employment

situations are to alert the job applicant that she is about to be rejected based on the content of a

report, and provide her an opportunity to challenge the accuracy or relevancy of the information

with the consumer reporting agency or the user before that job prospect is lost.

       28.     As an additional service offered to its employment screening customers,

LexisNexis would itself send out FCRA Pre-Adverse Action and Adverse Action Notices to

consumers on behalf of its inquiring customer. Rite Aid used this service, as well. LexisNexis

and Rite Aid designed this arrangement so that the Pre-Adverse Action notice always gets sent

after LexisNexis has scored the application and after LexisNexis has provided Rite Aid with the

applicant’s background report.

       29.     During the relevant time period, LexisNexis would send out the Pre-Adverse

Action notices automatically upon the system triggering a “Non-Competitive” adjudication,

without any input or review from Rite Aid or knowledge of Rite Aid as to its timing.

       30.     LexisNexis’ adjudication was more than a recommendation.                  Rite Aid

systematically relied on the near-automated LexisNexis adjudication and scoring as the last step

in its employment decision.

       31.     As a practical matter, applicants scored as Non-Competitive are automatically

removed from consideration for hiring by Rite Aid.




                                                 7
          Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 8 of 34




       32.     LexisNexis’ adjudication, using Rite Aid’s hiring criteria, was itself a formal

adverse action taken on behalf of and therefore by Rite Aid.

       33.      During the relevant time period, LexisNexis sent immediate electronic notice of

the adjudication decision to Rite Aid and also triggered the mailing of notification to the

consumer. This notification was programmed to arrive days after the adjudication has already

occurred and Rite Aid had been notified.

       34.     While LexisNexis thereafter also mailed a follow up “Adverse Action Notice,”

that notice, like the Pre-Adverse Action Notice, is a sham. Contrary to the purposes of the

statute, both notices were improperly sent after the adverse action.

       35.     According to Rite Aid’s custom and practice, an applicant classified “Non-

Competitive” is, in fact, rejected for employment. Any delay between a “Non-Competitive”

adjudication and a final denial decision is a mere formality.

       36.     In the exceedingly rare circumstance when a “Non-Competitive” applicant is able

to persuade Rite Aid to reconsider its decision, such reconsideration would be a condition

subsequent which would change the earlier outcome. It would not erase the fact that an “adverse

action” had already occurred.

       37.     On information and belief, Rite Aid (through its agent LexisNexis) sends the

consumer an “Adverse Action Notice” five days after sending the “Pre-Adverse Action Notice.”

Given the delay in time caused by mailing, this gives the consumer at best approximately only

two or three days to initiate a dispute, which dispute would be futile in any event because the

adverse action had already occurred before the first notice had been mailed.

       38.     Uniformly, five days is insufficient for consumers to receive a consumer report by

mail, which itself will take two to three business days, read and understand it and then provide a




                                                 8
          Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 9 of 34




substantive dispute of same. At best, the practical period is only one to two days at most,

assuming prompt delivery.

       39.     The FCRA permits LexisNexis as long as 30 days in all instances and 45 days in

many to conduct a dispute of a consumer regarding one of its consumer reports. 15 U.S.C. §

1681i. Thus, there was no obligation by LexisNexis to investigate any consumer dispute in a

shorter time frame.

       40.     Under the FCRA, disputes are handled by the consumer reporting agency. There

is no obligation under the FCRA for Rite Aid to receive, process or even accept disputes

regarding the consumer reports upon which its adverse actions are based.

       41.     Further, upon information and belief, Plaintiff alleges that the “Adverse Action”

letter LexisNexis sends for Rite Aid is actually generated and printed at or close to the same time

LexisNexis also prints and mails its “Pre Adverse Action” letter. This task – actually making a

dispute of a LexisNexis/Rite Aid report in this narrow window is then made functionally

impossible by the Defendant’s failure to cause the delivery to the applicant of the full report used

on Rite Aid’s behalf by LexisNexis.

B.     Rite Aid’s Employment Application Disclosures

       42.     The FCRA imposes substantial limits on when and how a person – including Rite

Aid – may use a consumer report for the purpose of hiring, promoting or firing employees.

       43.     Initially, a person may not procure a consumer report, or cause a consumer report

to be procured, for employment purposes with respect to any consumer, unless –

       (i) a clear and conspicuous disclosure has been made in writing to the consumer at
       any time before the report is procured or caused to be procured, in a document
       that consists solely of the disclosure, that a consumer report may be obtained for
       employment purposes; and
       (ii) the consumer has authorized in writing (which authorization may be made on
       the document referred to in clause (i)) the procurement of the report by that
       person.

                                                 9
         Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 10 of 34




15 U.S.C. § 1681b(b)(2)(A) (i) and (ii). (Emphasis added).

       44.     Section 1681b(b)(2)(A) therefore imposes the duty on Rite Aid to provide a “clear

and conspicuous” disclosure to prospective or current employees that a consumer report about

them will be procured. These disclosures, the statute mandates, must be “stand-alone,” i.e.,

unaccompanied by any other information.

       45.     The legislative policy underlying the stand-alone disclosure requirement was

articulated in a 1998 opinion letter from the Federal Trade Commission interpreting section

1681b(b)(2) and stating that the FCRA prohibits disclosure forms “encumbered by any other

information ... [in order] to prevent consumers from being distracted by other information side-

by-side with the disclosure.” Letter from Clarke W. Brinckerhoff, Fed. Trade Comm' n, to H.

Roman Leathers, Manier & Herod (Sept. 9, 1998). See also Reardon v. Closetmaid Corporation,

2013 WL 6231606, *10-11 (W.D. Pa. Dec. 2, 2013) (finding disclosure with liability waiver to

be “facially contrary to the statute at hand, and all of the administrative guidance”).

       46.     Section 1681b(b)(2)(A) thus prohibits Rite Aid from including other language as

part of the disclosure, such as, but not limited to, release language and waivers.

       47.     During the time relevant to this action, Defendant used standardized forms by

which new applicants applied for employment at Rite Aid.

       48.     During the time relevant to this action, as part of Rite Aid’s application process,

applicants were required to complete standard form documents to include identifying

information, employment history and a statement regarding previous criminal history. However,

upon information and belief, Rite Aid’s standard application process did not make the required

FCRA disclosures in a document that consisted solely of the disclosure. See 15 U.S.C. §

1681b(b)(2)(A).



                                                 10
         Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 11 of 34




       49.     During the relevant period, Rite Aid used form disclosures that were not stand-

alone when obtaining consent from consumers to order background checks. Some of the forms

that Rite Aid has used to obtain consent from consumers to order a background check have

included releases of liability and waiver language not permitted by the FCRA.

       50.     During the period relevant to this action, Rite Aid did not make the disclosures

required by section 1681b(b)(2)(A) of the FCRA using a form that consisted solely of those

disclosures.

       51.     Nevertheless, Rite Aid systematically obtained and used employment-purpose

consumer reports from LexisNexis regarding its employment applicants and probationary

employees.

C.     The Facts Pertaining to Plaintiff Kyra Moore

       52.     Plaintiff Kyra Moore is a young woman who, upon graduation from high school

in 2006, obtained employment with CVS in Philadelphia.

       53.     Ms. Moore began her CVS employment as a cashier and worked her way up to

supervisor.

       54.     In July 2010, as part of a routine loss prevention investigation of store losses, or

“shrinkage,” the employees at the CVS store on Chestnut Street in Philadelphia, where Plaintiff

was employed, were all interrogated by CVS loss prevention agents about their possible roles in

contributing to “shrinkage.”

       55.     During the course of an aggressive interrogation, the CVS loss prevention agent

had Plaintiff sign a statement and he sent her home.

       56.     Plaintiff Moore was never criminally charged with theft nor does she have

knowledge of any complaint regarding any theft by her ever being referred to any police




                                                11
         Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 12 of 34




authority by her former employer, CVS. In fact, as she confirmed from a recently produced

criminal background check by LexisNexis, she has a clean criminal record.

       57.     Around April, 2011, Plaintiff applied for a job at Rite Aid as a store supervisor.

She had a positive interview with a district manager and was told that she would start work as

soon as she passed a drug test and a background screen.

       58.     As part of the application process, upon information and belief, Plaintiff was

required to sign authorization and disclosure forms provided by Rite Aid that were not stand-

alone and did not satisfy the FCRA’s stand-alone disclosure requirement under section

1681b(b)(2)(A).

       59.     Soon after April 25, 2011, Plaintiff received in the mail a form letter (the “Pre-

Adverse Action Notice”), dated April 25, 2011, purporting to be from Rite Aid, but actually sent

by LexisNexis pursuant to its contract with Rite Aid. The form letter advised her that Rite Aid

had requested a “criminal background report” from LexisNexis in connection with her

application for employment and that the “background report may result in your not being offered

the job for which you are applying/the termination of your employment, which is applicable.”

The form letter also stated “if you wish to dispute the attached report in any way, it is solely your

(not Rite Aid) responsibility to contact LexisNexis directly.” A copy of the letter is attached

hereto as Exhibit A.

       60.     The Pre-Adverse Action Notice sent to Ms. Moore included with it a copy of a

LexisNexis Background Report which, according to the Report had been ordered by Rite Aid on

April 22, 2011 and “Record Judged” and “completed” on April 25, 2011. According to the

Report, she received a score of “Pass” for the Social Security verification, and scores of

“Eligible” for the GSA/HHS/OIG screen and the Pennsylvania Office of Inspector General

screen, but a score of “Ineligible” under an Esteem screen. The over-all score, as a result of the

                                                 12
          Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 13 of 34




Esteem match, was “Non-Competitive.” A copy of the Background Report is attached as Exhibit

B.

         61.   The Esteem component of the Background Report provided to Rite Aid, and later

to Plaintiff, includes the following information for an “Esteem Incident” occurring in a CVS

store:

               Admission Status: Verified admission statement

               Incident: Internal

               Type of Offense: Theft of Merchandise

               Date of Incident: 7/26/2010

               Theft Amount: $60.00.

         62.   Plaintiff was rejected for employment by Rite Aid solely as a result of her being

classified “Non-Competitive” by Rite Aid’s agent LexisNexis. Thus, at the time Plaintiff was

furnished the purported “pre-adverse” action notice and a copy of the Background Report, an

adverse action had already occurred.

         63.   As a direct result of Rite Aid’s use of the Background Report and LexisNexis’s

scoring of Ms. Moore’s employment application through its use of its Esteem database, Moore

lost the job opportunity at Rite Aid.

         64.   As a result of a successful dispute Plaintiff initiated, LexisNexis eventually

removed her from the Esteem database.

         65.   Because of the timing of the sham “pre-adverse action” notification, Plaintiff was

denied the right to have her dispute decided before she lost the job opportunity at Rite Aid.

                           V.       CLASS ACTION ALLEGATIONS

         66.   Plaintiff brings this action on behalf of a class defined as follows:




                                                13
         Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 14 of 34




       All employees or applicants for employment of Defendant Rite Aid residing in the
       United States (including all territories and other political subdivisions of the
       United States) who were the subject of a Background Report obtained from
       LexisNexis that classified them as “Non-Competitive” regarding an application
       for employment or promotion with Rite Aid, within two years prior to the filing of
       this action, and for whom Rite Aid failed to provide the employee or applicant a
       copy of their consumer report or a copy of the FCRA summary of rights at least
       five business days before such classification occurred.

       67.     Numerosity. FED. R. CIV. P. 23(a)(1). The Class members are so numerous that

joinder of all is impractical. Upon information and belief, Rite Aid obtains hundreds if not

thousands of consumer reports on employees and applicants for employment each year, and

those persons’ names and addresses are identifiable through documents maintained by Rite Aid.

       68.     Existence and Predominance of Common Questions of Law and Fact. FED.

R. CIV. P. 23(a)(2). Common questions of law and fact exist as to all members of the Class, and

predominate over the questions affecting only individual members. The common legal and

factual questions include, among others:

               a)        Whether Rite Aid was obligated to provide all of the information used by

LexisNexis to adjudicate Rite Aid applicants for hire even if the report was not formally

delivered to Rite Aid;

               b)        Whether Rite Aid failed to provide each employee or applicant for

employment a copy of their consumer report at least five business days before it took an adverse

action based upon the consumer report;

               c)        Whether Rite Aid failed to provide each employee or applicant for

employment a copy of their written notice of FCRA rights at least five business days before it

took an adverse action based upon the consumer report;

              d)         Whether Rite Aid acted willfully in disregard of the rights of employees

and applicants in its failure to permit its employees and automated systems to send consumers



                                                 14
          Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 15 of 34




their full consumer files and a written statement of their FCRA rights;

               e)      Whether the authorization and disclosure forms provided by Rite Aid to

consumers constituted the stand-alone disclosure required by 15 U.S.C. § 1681b(b)(2)(A);

               f)      Whether Rite Aid failed to lawfully obtain Class members’ written

authorization to obtain a consumer report;

               g)      Whether Rite Aid acted willfully in disregard of the rights of employees

and applicants in its failure to make the disclosures in the manner required by 15 U.S.C. §

1681b(b)(2)(A).

         69.    Typicality. FED. R. CIV. P. 23(a)(3). Plaintiff’s claims are typical of the claims

of each Class member. Plaintiff has the same claims for statutory and punitive damages that she

seeks for absent class members.       Her claim is based on the same set of facts – the same

procedures – used for all Class members.

         70.    Adequacy. FED. R. CIV. P. 23(a)(4). Plaintiff is an adequate representative of

the Class because her interests are aligned with, and are not antagonistic to, the interests of the

members of the Class she seeks to represent, she has retained counsel competent and experienced

in such litigation, and she intends to continue her vigorous prosecution of this action. Plaintiff

and her Counsel will continue to fairly and adequately protect the interests of members of the

Class.

         71.    Predominance and Superiority. FED. R. CIV. P. 23(b)(3). Questions of law

and fact common to the Class members predominate over questions affecting only individual

members, and a class action is superior to other available methods for fair and efficient

adjudication of the controversy. The statutory and punitive damages sought by each member are

such that individual prosecution would prove burdensome and expensive given the complex and

extensive litigation necessitated by Rite Aid’s conduct. It would be virtually impossible for the

                                                15
         Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 16 of 34




members of the Class individually to redress effectively the wrongs done to them. Even if the

members of the Class themselves could afford such individual litigation, it would be an

unnecessary burden on the courts. Furthermore, individualized litigation presents a potential for

inconsistent or contradictory judgments and increases the delay and expense to all parties and to

the court system presented by the complex legal and factual issues raised by Rite Aid’s conduct.

By contrast, the class action device will result in substantial benefits to the litigants and the Court

by allowing the Court to resolve numerous individual claims based upon a single set of proof in a

unified proceeding.

                                  VI.     CAUSES OF ACTION

                                    COUNT I
                  FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681b(b)(3)
                                 (CLASS CLAIM)

       72.      Plaintiff realleges and incorporates by reference all preceding allegations.

       73.     Plaintiff is a “consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c).

       74.     LexisNexis Background Reports are “consumer reports” within the meaning of 15

U.S.C. § 1681a(d).

       75.     The FCRA provides that any person “using a consumer report for employment

purposes” who intends to take any “adverse action based in whole or in part on the report,” must

provide the consumer a written description of the consumer’s rights under the FCRA, as

prescribed by the Federal Trade Commission, before taking such adverse action. 15 U.S.C. §

1681b(b)(3)(A).

       76.     For purposes of this requirement, an “adverse action” includes “any . . . decision .

. . that adversely affects any current or prospective employee.” 15 U.S.C. § 1681a(k)(1)(B)(ii).

       77.     Defendant Rite Aid is a “person” that regularly uses LexisNexis Background

Reports for employment purposes.

                                                  16
         Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 17 of 34




       78.    The FCRA requires Rite Aid, as a user of consumer reports for employment

purposes, before taking adverse action based in whole or in part on the report, to provide to the

consumer to whom the report relates, a copy of the report and a written description of the

consumer’s rights under the FCRA. 15 U.S.C. § 1681b(b)(3)(A)(i), (ii).

       79.    Rite Aid willfully violated section 1681b(b)(3) of the FCRA by failing to provide

Plaintiff and the members of the Class the following before using such reports: (a) the required

Pre-Adverse Action Notice, (b) a copy of the consumer report, and (c) a written description of

the consumer’s rights under the FCRA, and thereby denied the consumers a sufficient time to be

able to review and dispute the report before Rite Aid took adverse action on their employment or

promotion applications.

       80.    Rite Aid had substantial guidance from previous court decisions, the plain

language of the statute and statements from regulatory agencies by which to know that its

conduct did not comply with the FCRA.

       WHEREFORE, Plaintiff Moore and the Class pray for relief as follows:

       A.     An order certifying the proposed Class under Rule 23 and appointing Plaintiff and

the undersigned counsel of record to represent same;

       B.     An award of statutory and punitive damages for Plaintiff and the Class;

       C.     An award of pre-judgment and post-judgment interest as provided by law;

       D.     An award of attorneys’ fees and costs; and,

       E.     Such other relief as the Court deems just and proper.

                                 COUNT II
              FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681b(b)(2)(A)
                              (CLASS CLAIM)

       81.    Plaintiff realleges and incorporates by reference all preceding allegations.

       82.    Plaintiff is a “consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c).

                                               17
         Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 18 of 34




       83.     LexisNexis Background Reports are “consumer reports” within the meaning of 15

U.S.C. § 1681a(d).

       84.     The FCRA prohibits any person from obtaining and using consumer reports for its

employment purposes without first (or at all) making “a clear and conspicuous disclosure … in

writing to the consumer at any time before the report is procured or caused to be procured, in a

document that consists solely of the disclosure, that a consumer report may be obtained for

employment purposes[.]” 15 U.S.C. § 1681b(b)(2)(A).

       85.     Defendant Rite Aid is a “person” that regularly uses LexisNexis Background

Reports for employment purposes.

       86.     Defendant obtained and used, both through LexisNexis and independently, a

consumer report regarding the Plaintiff and members of the Class.

       87.     Rite Aid willfully violated section 1681b(b)(2)(A) of the FCRA by failing to

provide Plaintiff and the members of the Class the disclosures required therein.

       88.     Rite Aid had substantial guidance from previous court decisions, the plain

language of the statute and statements from regulatory agencies by which to know that its

conduct did not comply with the FCRA.

       WHEREFORE, Plaintiff Moore and the Class pray for relief as follows:

       A.      An order certifying the proposed Class under Rule 23 and appointing Plaintiff and

the undersigned counsel of record to represent same;

       B.      An award of statutory and punitive damages for Plaintiff and the Class;

       C.      An award of pre-judgment and post-judgment interest as provided by law;

       D.      An award of attorneys’ fees and costs; and,

       E.      Such other relief as the Court deems just and proper.




                                                18
       Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 19 of 34




                         TRIAL BY JURY IS DEMANDED.


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                                     19
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 20 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 21 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 22 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 23 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 24 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 25 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 26 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 27 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 28 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 29 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 30 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 31 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 32 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 33 of 34
Case 2:13-cv-01515-JD Document 33 Filed 08/21/14 Page 34 of 34
